Case 2:03-cr-20476-SH|\/| Document 125 Filed 04/21/05 Page 1 of 2 Page|D 153

 

IN THE UNITED sTATES DISTRICT COURT Y/
FOR THE wEsTERN DISTRICT 0F TENNESSEE h__ x

WESTERN DIvIsIoN J“J. . ~:,1 ,

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WD.OFTN,MEMHMS

UNITED STATES OF AMERICA,
Plaintiff,
CR. NO. 03~20476-Ma

VS.

TOMMIE BROWN, JR.,

v~_._.¢~`_,~_._,¢-._/-_¢-._,-_,»-._r

Defendant.

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on March 25, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case.

The Court granted the request and continued the trial date to
the rotation docket beginning May 2, 2005 at 9:30 a.m., With a
report date of Thursday, April 21, 2005 at 2:00 p.m.

The period_ fronl March_ 25, 2005 through May' 13, 2005 is
excludable under 18 U.S.C. § 316l(h)(8)(B)(iv) because the
interests of justice in allowing' additional time to prepare
outweigh the need for a speedy trial.

IT IS SO CRDERED this yi\ day of April, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Honorable Samuel Mays
US DISTRICT COURT

